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     Attorneys for Defendant
 8   DIRECT RECOVERY SERVICES LLC
 9
                                 UNITED STATES DISTRICT COURT
10
11                              CENTRAL DISTRICT OF CALIFORNIA
12
13   MELISSA MEYER, individually and ) CASE NO. 2:20-cv-02140-FMO-JPR
14   on behalf of all others similarly )
     situated,                         ) NOTICE OF SETTLEMENT
15
                                       )
16                       Plaintiffs,   )
17
            v.                         )
                                       )
18   DIRECT RECOVERY SERVICES )
19   LLC, a Corporation; DOES 1-10     )
     Inclusive,                        )
20                                     )
21                       Defendant     )
                                       )
22
                                       )
23
                    PLEASE TAKE NOTICE that a settlement in this matter has been reached
24
     between all parties. The parties anticipate that they will complete the settlement,
25
26
     and file a stipulation of dismissal, within 45 days from the date of this notice. In

27   light of the settlement, the parties request that the Court take off calendar all future
28   hearing dates in this case.


     {00147401;1}                               1
                                                                            NOTICE OF SETTLEMENT
                                                                      CASE NO. 2:20-cv-02140-FMO-JPR
     Case 2:20-cv-02140-SB-JPR Document 22 Filed 03/04/21 Page 2 of 3 Page ID #:84



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 2
 3   Dated: March 4, 2021            By /s/ David J. Kaminski
                                       David J. Kaminski
 4                                     Stephen A. Watkins
 5                                     Attorneys for Defendant,
                                       DIRECT RECOVERY SERVICES LLC
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                                                                   NOTICE OF SETTLEMENT
                                                             CASE NO. 2:20-cv-02140-FMO-JPR
     Case 2:20-cv-02140-SB-JPR Document 22 Filed 03/04/21 Page 3 of 3 Page ID #:85



 1                                     CERTIFICATE OF SERVICE
 2                  I, David J. Kaminski, hereby certify that on this 4th day of March, 2021, a true
 3   and accurate copy of the foregoing NOTICE OF SETTLEMENT was filed through
 4   the ECF system, which will send notification of such filing to the e-mail addresses
 5   associated with this case.
 6
                                                             /s/David J. Kaminski
 7                                                           David J. Kaminski
 8                                                           CARLSON & MESSER LLP
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     {00147401;1}                                   3
                                                                                   NOTICE OF SETTLEMENT
                                                                             CASE NO. 2:20-cv-02140-FMO-JPR
